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 1   MARK J. REICHEL, State Bar #155034
     THE LAW OFFICES OF MARK J. REICHEL
 2   455 CAPITOL MALL, 3rd FLOOR, Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 498-9258
     FAX:   (916) 441-6553
 4   mark@reichellaw.com
     www.reichellaw.com
 5
     Attorney for Defendant
 6   SURRINDER PAL SINGH
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )   Case No. CR-S-09-0125 FCD
                                          )
12                     Plaintiff,         )   STIPULATION OF THE PARTIES
                                          )   FOR MODIFICATION OF PRETRIAL
13        v.                              )   RELEASE SPECIAL CONDITION
                                          )   REGARDING DEFENDANT’S
14                                        )   TRAVEL; AND ORDER THEREON
                                          )
15   SURRINDER PAL SINGH                  )   Date: N/A
                                          )   Time:
16                Defendant.                  Judge: Kimberly J. Mueller
     __________________________
17
18        IT IS HEREBY STIPULATED by and between the parties hereto through
19   their respective counsel, JASON HITT, Assistant United States Attorney,
20   attorney for Plaintiff, and MARK J. REICHEL, Esq., attorney for
21   defendant, that the terms fo the defendant’s release are hereby
22   modified as follows:
23        The defendant is allowed to travel for work purposes to districts
24   other than the Eastern District, specifically to and through the
25   Northern District, Central District of California and the District of
26   Nevada, as approved by Pretrial Services.
27        Pretrial Services has approved and agrees with this request.
28   /////


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 1           All other terms and conditions of the defendant’s release shall
 2   remain in full force and effect.
 3   DATED: January 6, 2010.             Respectfully submitted,
 4                                       MARK J. REICHEL, ESQ.
 5                                       /s/ MARK J. REICHEL
                                         MARK J. REICHEL
 6                                       Attorney for defendant
 7                                       BENJAMIN J. WAGNER
                                         United States Attorney
 8
 9   DATED: January 6, 2010.             /s/MARK J. REICHEL for:
                                         JASON HITT
10                                       Assistant U.S. Attorney
11
12                                      O R D E R
13        IT IS SO ORDERED.
14   DATED: January 6, 2010.
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     Ddad1/orders.criminal/singh0125.stipord
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